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1                                UNITED STATES DISTRICT COURT
2                                        DISTRICT OF NEVADA
3
      FERNANDO RODRIGUEZ,                                    Case No. 3:24-cv-00218-MMD-CSD
4
                                            Plaintiff,                   ORDER
5            v.
6     JOHN KEAST, et al.,
7                                      Defendants.
8

9           This action began with a pro se civil rights complaint filed pursuant to 42 U.S.C. §

10   1983 by a state prisoner. Plaintiff has submitted an application to proceed in forma

11   pauperis. (ECF No. 1). Based on the financial information provided, the Court finds that

12   Plaintiff is unable to prepay the full filing fee in this matter.

13          The Court entered a screening order on August 5, 2024. (ECF No. 11). The

14   screening order imposed a 90-day stay and the Court entered a subsequent order in

15   which the parties were assigned to mediation by a court-appointed mediator. (ECF Nos.

16   11, 23). However, before the mediation, the Court ordered briefing on Plaintiff’s motions

17   for preliminary injunction and temporary restraining order and held an emergency status

18   conference. (ECF Nos. 13, 30). At the emergency status conference, the Court referred

19   the case to the Pro Bono Program, vacated the mediation, and set a deadline for filing an

20   answer or responsive pleading. (ECF No. 30). This case will now proceed onto the

21   normal litigation track.

22          For the foregoing reasons, IT IS ORDERED that:

23          1.      Plaintiff’s application to proceed in forma pauperis (ECF No. 1) is

24   GRANTED. Plaintiff shall not be required to pay an initial installment of the filing fee. In

25   the event that this action is dismissed, the full filing fee must still be paid pursuant to 28

26   U.S.C. § 1915(b)(2).

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1           2.     The movant herein is permitted to maintain this action to conclusion without

2    the necessity of prepayment of any additional fees or costs or the giving of security

3    therefor.

4           3.     Pursuant to 28 U.S.C. § 1915, the Nevada Department of Corrections will

5    forward payments from the account of Fernando Rodriguez, #51052 to the Clerk of the

6    United States District Court, District of Nevada, 20% of the preceding month's deposits

7    (in months that the account exceeds $10.00) until the full $350 filing fee has been paid

8    for this action. The Clerk of the Court will send a copy of this order to the Finance Division

9    of the Clerk’s Office. The Clerk will send a copy of this order to the attention of Chief of

10   Inmate      Services     for    the    Nevada      Department       of    Corrections       at

11   formapauperis@doc.nv.gov.

12          4.     The Clerk of the Court shall electronically SERVE a copy of this order and

13   a copy of Plaintiff’s first amended complaint (ECF No. 12) on the Office of the Attorney

14   General of the State of Nevada by adding the Attorney General of the State of Nevada to

15   the docket sheet. This does not indicate acceptance of service.

16          5.     Subject to the findings of the screening order (ECF No. 11), within 14 days

17   of the date of entry of this order, the Attorney General’s Office shall file a notice advising

18   the Court and Plaintiff of: (a) the names of the defendants for whom it accepts service;

19   (b) the names of the defendants for whom it does not accept service, and (c) the names

20   of the defendants for whom it is filing the last-known-address information under seal. As

21   to any of the named defendants for whom the Attorney General’s Office cannot accept

22   service, the Office shall file, under seal, but shall not serve the inmate Plaintiff the last

23   known address(es) of those defendant(s) for whom it has such information. If the last

24   known address of the defendant(s) is a post office box, the Attorney General's Office shall

25   attempt to obtain and provide the last known physical address(es).

26          6.     If service cannot be accepted for any of the named defendant(s), Plaintiff

27   shall file a motion identifying the unserved defendant(s), requesting issuance of a

28   summons, and specifying a full name and address for the defendant(s).                For the

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1    defendant(s) as to which the Attorney General has not provided last-known-address

2    information, Plaintiff shall provide the full name and address for the defendant(s).

3           7.     If the Attorney General accepts service of process for any named

4    defendant(s), such defendant(s) shall file and serve an answer or other response to the

5    first amended complaint (ECF No. 12) on or before October 28, 2024. For any remaining

6    defendant(s), service must be perfected within 90 days from the date of this order

7    pursuant to Fed. R. Civ. P. 4(m).

8           8.     Plaintiff shall serve upon defendant(s) or, if an appearance has been

9    entered by counsel, upon their attorney(s), a copy of every pleading, motion or other

10   document submitted for consideration by the Court.        If Plaintiff electronically files a

11   document with the Court’s electronic-filing system, no certificate of service is required.

12   Fed. R. Civ. P. 5(d)(1)(B); Nev. Loc. R. IC 4-1(b); Nev. Loc. R. 5-1. However, if Plaintiff

13   mails the document to the Court, Plaintiff shall include with the original document

14   submitted for filing a certificate stating the date that a true and correct copy of the

15   document was mailed to the defendants or counsel for the defendants. If counsel has

16   entered a notice of appearance, Plaintiff shall direct service to the individual attorney

17   named in the notice of appearance, at the physical or electronic address stated therein.

18   The Court may disregard any document received by a district judge or magistrate judge

19   which has not been filed with the Clerk, and any document received by a district judge,

20   magistrate judge, or the Clerk which fails to include a certificate showing proper service

21   when required.

22          9.     This case is no longer stayed.

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            DATED: September 30, 2024.
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                                               UNITED STATES MAGISTRATE JUDGE
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